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oNlTED STATES DISTRICT COURT ?*3»'~* J'f" z :..:-.
WESTERN DISTRICT oF TENNESSEE w g w l 3 w
WESTERN Di\/isioN w 2d :;»; %,- 1-,__,
§§ 1`_;
ARTICE JEAN RUFFIN, :\, i=,:;`,~é;:#z'-§§g
Plaintiff,
v. Civii No. 05-2173

COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOWING ADDITIONAL T[ME TO FILE BRIEF

 

The defendant‘$ motion for additional time to file a brief is granted The Commissioner shall

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Jud , United States District Court

file a briefby July l, 2005.

 

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This notice confirms a copy ofthe document docketed as number 12 in
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Andrew E. Bender

LAW OFFICES OF ANDREW E. BENDER
382 Washington Ave.

l\/lemphis7 TN 38105

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

